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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     10/16/2020
JANET PRUTER, et al.,
            Plaintiffs,                            15-CV-1153 (AT) (BCM)
       -against-                                   ORDER
LOCAL 210, INTERNATIONAL
BROTHERHOOD OF TEAMSTERS,
            Defendant.

BARBARA MOSES, United States Magistrate Judge.

       The Court is in receipt of a letter from defendant seeking to adjourn the October 26, 2020

settlement conference, which was sent via email to chambers. The letter-motion is DENIED

without prejudice to renewal in compliance with ¶ 7 of the Order Scheduling Settlement

Conference (Dkt. No. 123) and Moses Indiv. Prac. § 2(a).

Dated: New York, New York
       October 16, 2020
                                            SO ORDERED.



                                            ________________________________
                                            BARBARA MOSES
                                            United States Magistrate Judge
